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    14
    15
                            UNITED STATES DISTRICT COURT
    16
             CENTRAL DISTRICT OF CALIFORNIA, WESTERN DIVISION
    17
    18
         UNITED STATES OF AMERICA,             Case No. 2:15-cv-5903-DDP-JEM
    19
                   Plaintiff,                  DEFENDANTS’ REPLY TO THE
    20                                         GOVERNMENT’S RESPONSE TO
    21       v.                                DEFENDANTS’ ALTERNATIVE
                                               TIMELINES TO COME INTO
    22 COUNTY OF LOS ANGELES, et al.,          COMPLIANCE WITH
    23                                         PROVISIONS 63, 64, AND 80 OF
                   Defendants.
                                               THE SETTLEMENT AGREEMENT
    24
    25                                         Courtroom 9C
                                               Honorable Dean D. Pregerson
    26                                         No Hearing Date Set
    27
    28
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     1                                            I.
     2                                   INTRODUCTION
     3        Contrary to what the government asserts, the County of Los Angeles (the
     4 “County”) and the Los Angeles County Sheriff’s Department (the “LASD”)
     5 (collectively, “Defendants”) fully recognize the need to urgently confront the
     6 current mental health crisis in the Los Angeles County Jails (the “LACJ”)—a crisis
     7 spurred by decades of relative indifference from a wide cast of characters, including
     8 the federal government, regarding the plight of individuals with severe mental health
     9 conditions that has turned the LACJ into the world’s largest mental health institution
    10 by default. To address this crisis, Defendants have begun executing a plan to
    11 depopulate the LACJ from the current staggering level of individuals with serious
    12 mental health conditions to levels that have not been seen in many years in order to
    13 allow for the treatment of those who remain in custody consistent with what
    14 Provisions 63, 64, and 80 of the settlement agreement require. Executing this plan
    15 in a manner that properly accounts for the well-being of the inmates who are subject
    16 to this plan, and that does not compromise public safety, will take time. The
    17 alternative compliance benchmarks and timelines Defendants propose recognize that
    18 fact and represent an aggressive, but realistic, path for Defendants to come into
    19 compliance with the settlement agreement’s provisions as Defendants maneuver the
    20 complexities of building up a vast inventory of non-carceral settings where inmates
    21 with a wide range of severe mental health conditions can receive treatment and the
    22 process that will need to be navigated in many hundreds of individual court cases to
    23 remove individuals from custody into such settings.
    24        In contrast to Defendants’ proposed benchmarks and timelines and how they
    25 are tied to a specific plan to gradually and safely depopulate the LACJ of those with
    26 severe mental health conditions, the government’s proposed benchmarks and
    27 timelines are not tied to any plan Defendants could realistically execute to meet
    28 those benchmarks and timelines or, for that matter, even the suggestion of a plan


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     1 that Defendants could execute to reach the government’s proposed deadlines.
     2 Furthermore, the government’s advocacy in favor of its proposed benchmarks and
     3 timelines vacillates between overstating and understating where Defendants stand in
     4 reaching compliance with the various settlement agreement provisions at issue;1
     5 incorrectly claims that reaching compliance in this case is a matter purely within
     6 Defendants’ control, when, in fact, numerous outside factors over which Defendants
     7 do not have full control have led to the current crisis in the jails and must be
     8 overcome;2 and drastically misunderstands the complexity of executing a plan to
     9
               1
    10                 For instance, at one point in its brief, the government falsely claims that
         P3 and P4 inmates in High Observation Housing (“HOH”) receive “virtually no out-
    11   of-cell time, either for recreation or treatment” (Gov’t Br. at p. 1), but four pages
    12   later, the government conversely claims that Defendants should be able to reach its
         proposed Provision 80 benchmarks because Defendants “have posted results that
    13   reach or are close to reaching required thresholds for unstructured [recreational]
    14   time” (while ignoring that Defendants are currently far from reaching the very first
         benchmark the government unrealistically proposed for March 31, 2023 for
    15   structured out-of-cell time). (Id. at p. 5).
    16         2
                        In fact, the difficulty Defendants face in finding lasting solutions to the
    17   crisis at issue is substantially compounded by factors Defendants have very limited
    18   power to control. Indeed, the thrust of the problem Defendants confront in this
         case—the inundation of unprecedented numbers of individuals with mental health
    19   conditions into the LACJ—is the consequence of decisions made by a host of
    20   individuals and entities other than Defendants, from the individuals who engage in
         criminal behavior that lands them in custody; to officers from the many different
    21   law enforcement agencies apart from the LASD who rely on the LACJ to hold those
    22   who they arrest in custody; to prosecutors who are now charging individuals with
         mental health conditions with crimes in greater numbers than ever; to state court
    23   judges who have been remanding indigent individuals with mental health conditions
    24   as a matter of course since the COVID-inspired emergency bail schedule was
         vacated on July 1, 2022; to the state Department of Mental Health, which for years
    25   has failed to fulfill its legal obligation to take individuals declared incompetent to
    26   stand trial into its custody so they can be restored to competency, illegally leaving
         hundreds of some of the sickest inmates the LACJ must treat in Defendants’ care for
    27   prolonged periods of time as their court cases sit in limbo. While Defendants are
    28   attempting to utilize the levers at their disposal to influence these decisionmakers in


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     1 divert many hundreds of individuals with serious mental health conditions out of the
     2 LACJ. In short, the government’s proposed benchmarks and timelines do nothing
     3 more than set Defendants up for failure, and they will not accomplish faster
     4 compliance by Defendants, even if ordered, because there is no realistic way for
     5 Defendants to meet the benchmarks and timelines proposed by the government in a
     6 manner that safeguards the well-being of the very people the government wants to
     7 protect and that does not pose an unacceptable risk to public safety.
     8         Furthermore, consistent with the government’s and the Court’s wishes for
     9 Defendants to take those steps necessary to reach compliance in this case as quickly
    10 as possible, Defendants’ plan to depopulate the LACJ and place many hundreds of
    11 individuals with severe mental illnesses in non-carceral facilities represents the
    12 fastest path Defendants can take to comply with Provision 63, 64, and 80 under the
    13 timelines Defendants have offered. Addressing the current mental health crisis
    14 besetting the LACJ by constructing a new jail facility, for example, would add years
    15 onto this timeline, and would only provide a solution until that new facility is
    16 similarly stuffed with inmates with severe mental health conditions. Moreover,
    17 Defendants’ plan also presents a better path than other alternatives that could be
    18 pursued, as this plan, once executed, will create a network of community-based
    19 mental health treatment facilities that see low rates of recidivism among their
    20 participants and that provide better mental health treatment, in a more therapeutic
    21 setting and at a lower cost, than the treatment that can be provided to people with
    22 severe mental health conditions housed in any LACJ facility. Accordingly, while
    23 the timeline to reach compliance with Provisions 63, 64, and 80 advocated by
    24 Defendants may stretch longer than the timeline offered by the government, the
    25 illusory and fleeting satisfaction of having short, but wholly unrealistic, timelines in
    26
    27 ways to abate the current crisis in the LACJ, it is an undeniable truth that the sources
    28 of the principal problems in this case are outside Defendants’ control.


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     1 place in this case is the only benefit the government’s proposed timelines will bring,
     2 as opposed to the real benefits Defendants can deliver if provided with the time
     3 necessary to implement their plan and provide long-term solutions to the problems
     4 in this case, which themselves, have been many years, if not decades, in the making.
     5                                            II.
     6                                      ARGUMENT
     7 A.      DEFENDANTS’ ALTERNATIVE COMPLIANCE TIMELINES
               PRESENT AN AGGRESSIVE, BUT REALISTIC PROJECTION OF
     8         THE AMOUNT OF TIME IT WILL TAKE FOR DEFENDANTS TO
     9         REACH COMPLIANCE WITH PROVISIONS 63, 64, AND 80, WHILE
               THE GOVERNMENT’S PROPOSED TIMELINES DO NOT
    10
               As Monitor Nicholas Mitchell has correctly noted, the fundamental problem
    11
         confronting Defendants in this case is one of supply and demand: over the past
    12
         several years the demand for mental health housing and services for inmates in the
    13
         LACJ with acute mental health conditions has far exceeded the availability of such
    14
         housing and services in the LACJ. This imbalance has tilted to particularly
    15
         unsustainable levels in the past year. Indeed, between January 2022 and January
    16
         2023 alone, the number of inmates in the LACJ requiring HOH services skyrocketed
    17
         from approximately 1,200 to approximately 1,750, outpacing, in many cases, the
    18
         effectiveness of the corrective actions Defendants have been taking during this time
    19
         period to deliver better mental health care to HOH inmates in the LACJ.
    20
               Unless the population of P3 and P4 inmates in the LACJ who require HOH
    21
         services drastically shrinks to correct the imbalance Monitor Mitchell has identified,
    22
         Defendants cannot reach compliance with Provision 63, 64, or 80, as (1) there is not
    23
         enough permanent HOH housing that exists in the LACJ to reasonably
    24
         accommodate more than approximately 1,050 P3 and P4 inmates;3 (2) in the past
    25
         few years there have often been more than four to five times the number of P4
    26
    27
               3
    28                This results in non-compliance with Provision 63.


                                                   4
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     1 inmates in custody than the number of licensed forensic in-patient beds required to
     2 treat them;4 and (3) given the number of P3 and P4 inmates in custody at the LACJ,
     3 Defendants’ current capacity to provide group programming for HOH inmates is
     4 less than 1/3 what is required under the settlement agreement.5
     5        As discussed in its February 17th filing, Defendants intend to bridge the gap in
     6 the demand for housing and services required under Provisions 63, 64, and 80 and
     7 what Defendants can reasonably provide in terms of such housing and services, by
     8 aggressively diverting P3 and P4 inmates from custody at a rate that will bring the
     9 HOH population in the LACJ down from 1,750 to approximately 1,050 by June 30,
    10 2025 (to move toward and ultimately reach compliance with Provisions 63 and 64),
    11 and down to no more than 750 P3 and P4 inmates by June 30, 2026. To achieve this
    12 plan, the County plans to add the following types of beds that the County
    13 Department of Health Services (“DHS”) (operating through its Office of Diversion
    14 and Reentry (“ODR”)) and Department of Mental Health (“DMH”) will primarily
    15 use to divert P3 and P4 inmates over the next five years:
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    17
    18
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              4
                     This causes non-compliance with Provision 64.
    27
              5
    28               This causes non-compliance with Provision 80.


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     1 New Beds Added by Year: Department of Health Services/Office of Diversion
       & Reentry
     2
     3    P3/P4         Bed Type        New         New Beds        New Beds   New Beds       New
     4    Population                    Beds         Added           Added      Added         Beds
                                       Added         Year 2          Year 3     Year 4       Added
     5                                 Year 1                                                Year 5
          P3/P4        Acute          20            0               0          0            0
     6    Inmates Who Subacute        50            0               0          0            0
          Are
     7                 Specialty      233           0               0          0            0
          Divertible
                       Interim
     8                 Housing
                       Permanent      0             140             140        105          79
     9                 Supportive
                       Housing
    10                 (“PSH”)
    11    P3/P4        Acute          10            15              5          0            TBD
          Inmates      Subacute       50            50              0          0            TBD
    12    Who Are FIST
                       Specialty      210           150             164        105          TBD
    13                 Interim
                       Housing
    14
    15
         New Beds Added by Year: Department of Mental Health
    16
    17    P3/P4          Bed Type            New            New        New          New          New
          Population                         Beds           Beds       Beds         Beds         Beds
    18                                     Added          Added       Added        Added        Added
                                           Year 1          Year 2     Year 3       Year 4       Year 5
    19    P3/P4 Inmates Acute             15             20         15         0            0
          Who Are       Subacute          32             16         16         128          16
    20    Conserved/    Enriched          15             30         35         35           35
          Conservable
    21                  Residential
                        Services
    22                  Skilled           10             0          0          0            0
                        Nursing
    23                  Facility
    24
    25
    26
    27
    28


                                                             6
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     1    P3/P4         Acute         0         0           0          0           0
          Inmates Who   Subacute      0         16          16         0           16
     2    Are Non-      Skilled       0         10          10         10          4
          divertible    Nursing
     3    / non-FIST    Facility
          / non-LPS
     4    conserved/
     5    conservable

     6        In its brief, the government fairly asks why it will take as long as Defendants’
     7 alternative compliance timelines provide to come into compliance with Provisions
     8 63, 64, and 80 through Defendants’ depopulation efforts. (Gov’t Br. at p. 3). The
     9 answer is that creating the new infrastructure of non-carceral beds identified in the
    10 tables above and filling those new beds with P3 and P4 inmates who are diverted
    11 from the LACJ are both time-consuming processes and, contrary to what the
    12 government appears to believe, the pace at which Defendants can safely divert
    13 various kinds of P3 and P4 inmates from custody and into the various types of beds
    14 noted above is not completely “within Defendants’ control,” but rather subject to the
    15 decisions and actions of third parties, such as the outside providers who contract to
    16 provide housing and services to ODR clients and the courts who decide if and when
    17 an inmate is an appropriate candidate for diversion. (Id.).
    18        For instance, the process of identifying and contracting with the operators of
    19 new non-carceral sites that can provide housing and mental health services to P3 and
    20 P4 inmates Defendants are seeking to divert—the “specialty interim housing” noted
    21 in the tables above—is a process that can take anywhere from 12 to 20 weeks. The
    22 numerous and necessary steps involved in this process to ensure these contracted
    23 facilities can properly attend to the mental health needs of inmates with acuity issues
    24 as severe as those P3 and P4 inmates present involves, among other things:
    25 (1) ODR drafting a solicitation with DHS seeking outside providers capable and
    26 willing to provide the requested housing and services; (2) County Counsel
    27 reviewing and approving the solicitation; (3) the County releasing the solicitation so
    28 provider organizations can apply to provide the requested housing and services;


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  1 (4) ODR evaluating those organizations which respond to the solicitation to ensure
  2 they can capably and safely provide the requested housing and services;
  3 (5) executing a work order between the County and the provider memorializing the
  4 provision of the necessary housing and services once the provider is selected;
  5 (6) identifying the site where the provider will provide the contracted housing and
  6 services; (7) making necessary tenant improvements at the site where the contracted
  7 housing services will take place; (8) negotiating a budget between ODR and the
  8 provider, including a staffing plan that is appropriate to the needs of the individuals
  9 being diverted to the provider from custody; (9) having the provider identify and
 10 hire the staff needed to serve its facility; and (10) opening the site once it is ready to
 11 receive clients.6
 12         The process of diverting an individual from the LACJ and into these outside
 13 service providers as they become operational is also time-consuming, but
 14 necessarily so in order to make sure it is safe to place these individuals in a non-
 15 carceral setting. Specifically, diverting an individual who is in custody into an ODR
 16 program involves at least the following steps, which typically take between 4 and
 17 12 weeks to complete: (1) the individual’s attorney submits a referral for ODR
 18 services via an electronic portal (except in cases involving FIST and MIST inmates,
 19 where the referral is generated by ODR itself); (2) ODR performs a clinical-legal
 20
 21         6
                    As the tables included above indicate, Defendants’ plan calls for DMH
 22   and DHS to establish a broad continuum of beds to which P3 and P4 inmates of all
      types can be safely diverted. These will include beds in secured (i.e. locked) and
 23   non-secured (i.e. unlocked) facilities. The timeline set forth above to set up beds in
 24   an ODR-contracted facility is the timeline involved when setting up non-secured,
      community-based facilities to which P3 and P4 inmates can be diverted. Secured
 25   beds which provide acute and subacute care are currently in extremely short supply
 26   in the County. Indeed, there currently are only approximately 50 such beds, located
      at a single facility in the County, to which inmates with acute mental health
 27   conditions can be diverted from custody. Building out such beds will take a
 28   considerably longer period of time than the 12 to 20 week timeline set forth above.


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  1 assessment of that referral to ensure the individual meets ODR’s targeted population
  2 for the services it provides (i.e., the person is unhoused and has a serious mental
  3 disorder); (3) if ODR determines the individual is a suitable candidate for diversion,
  4 it submits a conditional release request affidavit to the court advocating for the
  5 individual’s diversion from custody and into ODR-contracted housing; (4) if the
  6 court accepts ODR’s conditional release request affidavit, it sets a suitability
  7 hearing, typically within two to eight weeks, to determine if the individual should be
  8 diverted; (5) ODR conducts further assessments to prepare for the suitability
  9 hearing, including assessing whether the individual requires transitional ODR
 10 psychiatric care for purposes of getting the individual through the hearing and
 11 stabilizing the individual so he or she can successfully transition to a non-carceral
 12 setting; (6) the suitability hearing takes place and the court determines whether the
 13 individual should be diverted from custody; (7) if the individual is found suitable for
 14 diversion by a judge, the conditional release process begins; (8) additional
 15 psychiatric and nursing care is provided to the individual while he or she is still in
 16 custody, as needed, to improve the probability of a successful transition to the ODR
 17 program; (9) ODR coordinates the medications the individual will need upon
 18 release, assists in scheduling and helping the individual meet appointments he or she
 19 might have, and handles any other clinical hand-off issues relevant to the
 20 individual’s circumstances; and (10) the individual’s release is scheduled with the
 21 LASD and the contracted ODR provider picks up the individual at the LACJ and
 22 brings the individual to his or her new home.7
 23
            7
 24                Defendants are looking for ways to shorten this 4 to 12 week timeline
      by, among other things, establishing a process in which ODR targets those inmates
 25   for whom it wishes to advocate for diversion, rather than vetting candidates for
 26   diversion proposed by others. Still, since the timeline to divert an inmate from
      custody is largely court-driven, how quickly individuals can be diverted into an
 27   ODR-contracted facility is largely subject to court calendars and other factors
 28   outside Defendants’ control.


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  1         These processes take time, but they are in place to ensure the welfare of the
  2 individuals being diverted from custody and, to the greatest extent possible, that
  3 individuals who are diverted do not pose a threat to the community. And while the
  4 fastest way for Defendants to responsibly come into compliance with the settlement
  5 agreement’s most demanding provisions is for them to engage in the unprecedented
  6 efforts they are taking to divert individuals with serious mental health conditions out
  7 of the LACJ and into non-carceral settings where they can obtain materially better
  8 treatment, executing this plan will not be as simple as what the government
  9 imagines nor, as shown above, a process that is within Defendants’ sole control.
 10 Among other things, the execution of this plan will involve (1) standing up many
 11 hundreds of new beds outside of the LACJ each year, including certain types of beds
 12 which are currently in very rare supply (i.e., beds in locked facilities which provide
 13 acute and subacute mental health treatment); (2) contracting with dozens of different
 14 third party providers who can render the particular types of services acutely
 15 mentally ill individuals require; (3) convincing judges in many hundreds of cases
 16 calendared each year to permit the diversion of individuals from custody into
 17 settings where the threat they may pose to the public can be mitigated but not
 18 eliminated; and (4) overcoming legal barriers—such as the federal IMD exclusion—
 19 which will make the wide-scale diversion of sizeable numbers of individuals with
 20 mental health conditions planned by the County even more challenging. While
 21 Defendants will aggressively take all steps within its control to drastically slash the
 22 number of P3 and P4 inmates in the LACJ as fast as it can responsibly do so, it is
 23 unrealistic to believe Defendants can accomplish the diversion of more than 1,500
 24 P3 and P4 inmates—the minimum number that will need to be diverted before
 25 Defendants can reach compliance with Provision 63, 64, and 80—on the arbitrary
 26 timelines imagined by the government; and ordering the timelines and benchmarks
 27 requested by the government will accomplish nothing but setting Defendants up for
 28


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  1 certain and near immediate failure.8
  2 B.      ALLOWING DEFENDANTS TO EXECUTE THEIR PLAN TO
            DEPOPULATE THE LACJ OF INDIVIDUALS WITH SEVERE
  3         MENTAL HEALTH CONDITIONS UNDER ITS PROPOSED
  4         TIMELINES PROVIDES THE BEST CHANCE FOR GOOD
            OUTCOMES IN THIS CASE
  5
            Providing Defendants with the time necessary to safely divert such a sizeable
  6
      number of P3 and P4 inmates from the LACJ that Defendants can reach compliance
  7
      with Provision 63, 64, and 80 also has the virtue of providing the fastest way for
  8
      Defendants to reach compliance with all of the settlement agreement’s provisions
  9
      and promises the best outcomes that can be achieved in this case.
 10
            First, while it is Defendants’ burden, and not the government’s burden, to
 11
      navigate a path to reach compliance in this case, the government has offered no
 12
      evidence how Defendants could achieve compliance with Provisions 63, 64, and 80
 13
      more quickly than under the timelines Defendants have proposed. Indeed, even
 14
      alternative plans Defendants have considered in the past to reach compliance with
 15
      the settlement agreement’s provisions—such as building a new jail better equipped
 16
 17
            8
 18                For instance, by means of example only, the government’s insistence
      that the Court order Defendants to close the gap between the number of P4 inmates
 19   and the number of licensed FIP beds from its current level of roughly 120 P4
 20   inmates to 80 P4 inmates within the next 25 days is not based on any lawful or
      reasonable actions Defendants could take to meet that benchmark. And while the
 21   opening of the Psychiatric Urgent Care Unit (the “PUC”) planned by Defendants is
 22   anticipated to have a positive impact on reducing the number of P4 inmates waiting
      for licensed FIP beds, as the government well knows, Defendants are currently
 23   waiting for the state Department of Mental Health to grant a license for Defendants
 24   to operate that facility after Defendants completed all of the steps within its control
      to receive that license at the end of last month. Defendants now expect that
 25   whenever the PUC is initially licensed, which is in the hands of state officials, it will
 26   be for 18 beds. Accordingly, the government’s speculation that the opening of the
      PUC should allow Defendants to magically shed 40 of the LACJ’s sickest inmates
 27   from the FIP waitlist within a matter of weeks is not based on the current realities in
 28   this case.


                                                 11
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  1 to serve inmates with mental health conditions—would take longer at this point to
  2 implement than the efforts to reach compliance with the settlement agreement by
  3 depopulating the LACJ of P3 and P4 inmates in the manner described above.
  4         Second, the plan Defendants have formulated to slice the population of P3
  5 and P4 inmates in the LACJ by almost 60% over roughly the next three years will
  6 provide the best outcomes for the very inmates this plan is designed to help. Those
  7 P3 and P4 inmates who are diverted from custody will be placed in more appropriate
  8 settings where they can receive better and more focused mental health treatment;
  9 and even those P3 and P4 inmates who remain in custody because they cannot be
 10 safely diverted from the LACJ will benefit from the diversion of massive numbers
 11 of other P3 and P4 inmates because that will avail them of the better treatment that
 12 can be provided to a smaller cadre of inmates at the LACJ with serious mental
 13 health conditions.
 14         Finally, Defendants’ plan to depopulate the LACJ promises better outcomes
 15 for society as well, as the ODR programs the County will largely depend upon to
 16 divert P3 and P4 inmates from custody have a proven track record of drastically
 17 decreasing recidivism rates amongst the clients they serve. Indeed, according a
 18 recent RAND study of inmates with serious mental health conditions diverted to
 19 ODR housing programs, only 14% of the inmates who were subject to the study
 20 returned to custody within one year of participating in the ODR program. See
 21 https://www.rand.org/pubs/research_reports/RR3232.html.
 22         Accordingly, while Defendants’ plan to depopulate the LACJ to bring
 23 Defendants into compliance with Provisions 63, 64, and 80 may take as long as
 24 provided in Defendants’ proposed alternative timelines, for the reasons set forth
 25 above, the creation of an extensive network of non-carceral beds of various types
 26 that can serve as an alternative to cells in the LACJ will deliver the fastest path to
 27 compliance available to Defendants as well as a solution to the issues in this case
 28


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  1 that yields the best outcomes.9
  2                                             III.
  3                                     CONCLUSION
  4         For each of the foregoing reasons, Defendants request that the Court set the
  5 alternative benchmarks and timelines offered by Defendants to reach compliance
  6 with Provisions 63, 64, and 80.
  7 DATED: March 6, 2023                  KENDALL BRILL & KELLY LLP
  8
                                          By:      /s/ Robert E. Dugdale
  9                                             Robert E. Dugdale
 10                                             Attorneys for Defendants

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                    Moreover, as noted in Defendants’ initial brief to the Court concerning
 21   its proposed alternative timelines, Defendants will address the length of time
 22   required to depopulate the LACJ, as described above, by taking a number of
      concrete steps aimed at improving the mental health care provided to inmates with
 23   serious mental health conditions as Defendants’ depopulation strategies unfold.
 24   (See Defs.’ Br., dated 2/17/23, at pp. 25-27). In addition, while the diversion of
      inmates from the LACJ is the principle means Defendants intend to use to obtain
 25   compliance with Provisions 63, 64, and 80 of the settlement agreement, Defendants
 26   will also use whatever other tools, programs, and influence with others Defendants
      have to accelerate the pace at which Defendants can meet the Constitutional
 27   obligations owed to those in their custody and to stop the unsustainable flow of
 28   mentally ill inmates entering the LACJ. (Id.)


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